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 9 Lead Counsel for the
   Direct Purchaser Plaintiffs
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11                               UNITED STATES DISTRICT COURT
12
                             NORTHERN DISTRICT OF CALIFORNIA
13
                                    SAN FRANCISCO DIVISION
14

15 IN RE: CATHODE RAY TUBE (CRT)                     Master File No. 07-CV-5944-JST
   ANTITRUST LITIGATION
16                                                   MDL No. 1917
17
     This Document Relates To:                       STIPULATION AND [PROPOSED]
18                                                   ORDER RE DEPOSITION OF C.C. LIU
   Crago, d/b/a Dash Computers, Inc., et al. v.
19 Mitsubishi Electric Corporation, et al.,
   Case No. 14-CV-2058-JST.
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      STIPULATION AND [PROPOSED] ORDER RE DEPOSITION OF C.C. LIU; Master File No. 07-CV-5944-JST
       Case 3:07-cv-05944-JST Document 4731 Filed 07/25/16 Page 2 of 3




 1           WHEREAS defendant Mitsubishi served a Notice of Deposition Upon Written Questions

 2 of C.C. Liu Pursuant To Federal Rule Of Civil Procedure 31 (“Notice”);

 3           WHEREAS the Notice set the deposition for August 5, 2016 in Taoyuan, Taiwan;

 4           WHEREAS Direct Purchaser Plaintiffs (“DPPs”) intend to file a motion to quash the

 5 Notice;

 6           WHEREAS fact discovery cut-off date in this matter is currently set for August 15, 2016;

 7           WHEREAS DPPs’ motion to quash the Deposition of C.C. Liu before the Special Master

 8 Walker and any subsequent appeal to the Court will likely extend beyond the current fact

 9 discovery cut-off;

10           WHEREAS the parties agree that if the deposition of C.C. Liu proceeds, it may occur

11 outside the August 15, 2016 discovery cut-off;

12           IT IS HEREBY STIPULATED AND AGREED, by and between counsel for the

13 undersigned plaintiffs and defendants, that:

14           1.     If the Deposition of C.C. Liu proceeds, it may be taken in a location convenient for

15                  the witness at a time convenient for the witness after the August 15, 2016 fact

16                  discovery cut-off.

17           IT IS SO STIPULATED.

18 DATED: July 22, 2016                   By: /s/ R. Alexander Saveri
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26                                        By: /s/ Terrence J. Truax
                                             Terrence J. Truax (pro hac vice)
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                                             Charles B. Sklarsky (pro hac vice)
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      STIPULATION AND [PROPOSED] ORDER RE DEPOSITION OF C.C. LIU; Master File No. 07-CV-5944-JST
       Case 3:07-cv-05944-JST Document 4731 Filed 07/25/16 Page 3 of 3



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20                                         Corporation, Mitsubishi Electric US, Inc., and
21                                         Mitsubishi Electric Visual Solutions America, Inc.

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           PURSUANT TO STIPULATION, IT IS SO ORDERED.
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     DATED: July 25, 2016                By:
26                                                    Jon S. Tigar
                                               United States District Judge
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      STIPULATION AND [PROPOSED] ORDER RE DEPOSITION OF C.C. LIU; Master File No. 07-CV-5944-JST
